rr_
ease szle-bl<-06404-CPM Doc 67,:"§5|%%32/18 Page 1 of 14
Aue 22 2018
CLERK, US BANKRUPTCY COURT

MlDDLE D|STR|CT CF FLORlDA
Tampa D|V|S|ON

uNlTED sTATEs BANl€l-°ftii§‘i“t,°f‘ titiuRT
MlDDLE DisTRicT or FLoRlDA
TAMPA DivisloN

ln re: ) Case No: 8-13-bk-06404 CPlVl
Jennifer Kaye Nlarlow ) Chapter 7
Debtor )

VERlF|ED MOT|ON TO AVOID JUD|C|AL LlEN
OF .l. P. MORGAN CHASE BANK N.A. ON EXEMPT PROPERTY

NOT|CE OF OPPORTUN|TY TO OBJECT AND REQUEST FOR HEAR|NG

Pursuant to Local Rule 2002-4, the Court will consider the relief requested inthis paper
without further notice or hearing unless a party in interest files a response within 21 days from
the date set forth on the attached proof of service, plus an additional three days for service if
any party is served by U. S. l\/lail.

lf you object to the relief requested in this paper, you must file a response with the
C|erk of the Court at 801 N Florida Ave, Tampa, FL 33602 and serve a copy on the
movant, Jennifer Kaye Nlarlow 5317 Fruitville Road # 159, Sarasota, Florida 34232, and
any other appropriate persons within the time allowed lf you file and serve a response
within the time permitted the Court will either schedule and notify you of a hearing, or
consider the response and grant or deny the relief requested without a hearing.

lf you do not file a response within the time permitted, the Court will consider
that you do not oppose the relief requested in the paper , will proceed to consider the
paper without further notice or hearing, and may grant the relief requested

Debtor, Jennifer Kaye Marlow, files this Motion to Avoid the Judicial lien

of J. P. Nlorgan Chase Bank National Association. and states as follows:

 

 

Case 8:13-bk-06404-CPl\/| Doc 67 Filed 08/22/18 Page 2 of 14

1_ Debtor filed to reopen Chapter 7 case on July 23, 2018

2. Debtor seeks to avoid the judicial lien of J. P. MORGAN CHASE BANK
N.A. that was created by the filing of UNlFORl\/l F|NAL JUDGMENT
OF MORTGAGE FGRECLOSURE at Document Number 2012148601 on

11-13-2012 3:33:33 PM of the Public Records of Sarasota County F|orida.

3. The Lien impairs the following property that is otherwise exempt under

11U S C522 (f) , 552

2558 Bahia Vista Street, Sarasota, Florida

LOTS 13 AND 15, BLOCK A, RUST|C LODGE AS PER PLAT
THEREOF RECORDED lN PLAT BOOK'l PAGE 155 OF THE
PUBLlC RECORDS OF SARASOTA COUNTY FLOR|DA
PARCEL ID# 20035020049.

WHEREFCRE, the Debtor respectfully requests that the Court enter an order avoiding
the Lien and for such other and further relief as the Court deems appropriate

‘U’/ 1
Dated: 30 /5/

     

nnifer Kaye lVlarl , sui juris
5317 Fruitville Road # 159

Sarasota, Florida 34232

    

 

 

 

Case 8:13-bk-06404-CPl\/| Doc 67 Filed 08/22/18 Page 3 of 14

PROCF OF SERVICE

A true and correct copy of the foregoing has been sent by either electronic
transmission of U. S. Mail on g / JJ'/ 510 l <Z/ to : All creditors and interested

parties as listed on the attached matrix.

    

ennifer aye Marlow
5317 Fruitville Road, # 159
Sarasota, Florida 34232

Attorney for Plain’fiff (J.P. MORGAN CHASE BANK N. A.)
KAHANE & ASSOCIATES. P.A.

8201 PETERS ROAD. SUlTE 3000

PLANTATlON, FLOR|DA 33324

ENlAlL NOT|CE@ KAHANEANDASSOC|ATES.COM
TELEPHONE: (954) 382-3486

TELEFACS|M|L|EZ (954) 382-5380

 

CaSe 8213-bl<-06404-CPl\/l DOC 67 Filed 08/22/18

Fi|| in this information to identify your case and this filing:

MMQ 2a

Last Name

Debtor 1

U'é,M:Ft-W joe s
M\ddieMne

First Name

Debtor 2
(SpOuSQ, if Ftll‘ng) Fii~st Narne Middle Name Last Name

United Stafes Bankruptcy Court for the:) > :QPJ} x Disfrict Of F!l 0 g lCl/`~'
Casenumber gic l5 ' lll< ` 0]»]`}`0?') CP p’\

 

 

 

Ofl'icial Form 106A/B
Schedule AlB: Property

 

Page 4 of 14

d)heck if this is an

amended filing

12/15

 

ln each category, separately list and describe items. List an asset only once. if an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. if two married people are filing together, both are equally
responsible for supplying correct information. if more space is needed, attach a separate sheet to this form. On the top of any additional pages,

write your name and case number (if known). Answer every question.

Part 1:

Describe Each Residence, Building, Land, or 0'l:her Real Estate You Own or Have an interest ln

 

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

E| No~ eo to Pan 2.
l;l Yes. Where is the property?
What is the property? Check all that apply.

l:l Single-famiiy horne
1 .1 .

 

Street address, if available, or other description n Duplex or multl-unit building
n Condominium or cooperative
n Manufactured or mobile home
l;l Land

n investment property

l] Timeshare

n Other

 

 

City State ZlP Code

 

Who has an interest in the property? Check one.

l:l Debtor1 only

n Debtor 2 only

n Debtor 1 and Debtor 2 only

l;l At least one of the debtors and another

 

County

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Scheduie D:
Creditors` Who Have Claims Secured by Properiy.

Current value of the Current value of the :
entire property? portion you own?
$ $

Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

a Check i'f this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

if you own or have more than onel list here:
What is the property? Check all that apply.
l;l Sing|e-family home

1'2‘ n Dup|ex or multi-unit building

 

Street address, if availab|e, or other description _
Cl Condominium or cooperative

n Manufactured or mobile home
cl Land

l;\ investment property

n Timeshare

l;l Other

Who has an interest in the property? Check one.
n Debtori only
cl Debtor 2 only

cl Debtor 1 and Debtor 2 only
l;l Ai least one of the debtors and another

 

 

City State ZlP Code

 

 

County

Do not deduct secured claims or exemptions Put
the amount of any secured claims on Schedule D:
Creditors Who Have C»'aims Secured by Propen‘y.

Current value of the Current value of the 1

entire property? portion you own?

$ $
Describe the nature of your ownership

interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

 

l;] Check if this is community property
(see instructions)

Other information you wish to add about this item, such as local

property identification number:

 

Officia| Form 106A/B Schedule AlB: Property

page 1

Case 8:13-bk-O6404-CPl\/| Doc 67 Filed 08/22/18 Page 5 of 14

Debtor1 .:YCF\Y\') Ff..v"%l§>; C/. Mml D 110 Casenumber(irknown> gi }5 " L£ ’DL% L[` L/)M

Firsmame Mlddle Name st Name

Whaf is the P¥'°Pel`ty? Check all that apply- Do not deduct secured claims or exemptions Put
l;l Single-family home the amount of any secured claims on Schedule D:

1_3. Crediiors Who Have Claims Secured by Properry_

 

Street address, if avaiiable, or other description n Duplex or multi-unit building

[] Condom,mum or mperanve Current value of the Current value of the

 

 

 

entire ro ? ortion ou own?
l;l Manufactured or mobile home p party p y
n Land $ $
m investment property
4 Describe the nature of your ownership
Ct St t ZlP C d
l y a e o e a T'meshare interest (such as fee simple, tenancy by
m Other the entireties, or a life estate), if known.

 

 

Who has an interest in the property? Check one_
l;l Debtor1 only

 

 

 

County g Debtor 2 only
l;l Debtor1 and Debtor 2 only m Check if this is community Pr°Pe"W
n At least one of the debtors and another (See mstmct'ons)
Other information you wish to add about this item, such as local
property identification number:
2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $
you have attached for Part 1 . Write that number here. ...................................................................................... ')

 

 

 

mescribe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? include any vehicles
' you own that someone else drives. |f you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

 

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

 

 

 

 

n No
El Yes
3,1, Make: who has an interest in me Pr°Perty? Check °"e~ Do not deduct secured claims or exemptions Put
n Debt 1 l the amount of any secured claims on Scheduie D:
Model: or °" y Creditors Who Have Claims Secured by Prope)ty.
Ye n Debtor20nly .~ ,, ,. _, .; _ _, , ~» ,§
ar:
___ cl Debtor 1 and Debtor 2 only ::t'i'::";r‘;;l::t;; the :::i:':;:;u:::;he
Appr°x'mate mlleage: l;l At least one of the debtors and another ' '
Other information:
l:l Check if this is community property (see $ 5
instructions)
l
i.
if you own or have more than one, describe here:
3_2_ Make: Wh° has an interest in the PF°P€"Y? Check °"S- Do not deduct secured claims or exemptions Put
m D m 1 l the amount ofany secured daims on Schedu)'e D:
Nlodei: 3 °r °n y Creditors Who Have Claims Secured by Pmperfy.

n Debtor 2 only

 

Year: n Debtor 1 and Debt°r 2 Only Current value of the Current value of the
- - . entire ro ? ortion ou own?
Appmxlmate m'leage' l:l At least one of the debtors and another p perty p y
Other information:
$ $

 

El Check if this is community property (see
instructions)

,,WWM_.__

 

 

Ofiicial Form 106A/B Schedule AlB: Property page 2

 

 

Case 8:13- bl<- 06404- CPl\/| DOC 67 Filed 08/22/18 Page 6 of 14

Debtor1 U€nV\\F{Y’ ){A-\[§€ y\/\A’Q.l low Casenumber(rrknowrr;<g;lZ*b/('D[Jl-}AL?) wm

 

 

 

 

 

 

First Name Middie Name Last Name
3_3_ Make; Who has an interest in the property? Check one. Do nci dedudseq,,.ed crews or exempuons_ put
n Debt 1 on' the amount ofany secured claims on Scheduie D.
Model: m °f Y creditors who wave cream secured by Propeny
Deblor 2 only ~ ~r- '
Year:
m Deblor 1 and Debtor 2 only ::t:;";r;al::;; the ::rrt'i:':‘t;::]u:::;he
Appr°x'mate m'|eage: n At least one of the debtors and another p ' '
Other information:
ti l:l Check if this is community property (see $ $
instructions)
3_4_ Make: who has an interest in the property? Check °"e~ Do not deduct secured claims or exemptions Put'
n D m 1 nl the amount ofany secured claims on Scheduie D:
lVlodel: m e °r o y Creditcrs WhoHave Ciar'ms Secured by Properiy.
Debior 2 oni ~ a
Year: y

Approximale mileage:

0ther information:

 

l

D Debtor 1 and Debtor2 only
Cl Al least one of the debtors and another

n Check if this is community property (see
instructions)

Current value of the Current value of the
entire property? portion you own?

' 4_ Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boais, trailers, motors, personal watercrafi, fishing vessels, snowmobiles, motorcycle accessories

El No
a Yes
4_1_ Make: Who has an interest in the property? Check one. no not dedud M,ed,daims or exemptions_ put
cl Debt 1 l the amount of any secured claims on Scheduie D:
Model: °‘ °" y creditors who Have claims secured by Pmpeny,
Year_ U Debtor 2 only

if you own or have more than one. list here:

Other information:

 

 

_.s.... ..,r

 

n Debtor 1 and Debtor 2 only
n At least one of the debtors and another

|;l Check if this is community property (see
instructions)

Current value of the Current value of the
entire property? portion you own?

4_2_ Make: wh° has an mterest m the Pr°PenY? Check °"e- Do not dedud secured claims or exemptions Put
m Debt 1 nl the amount ot any secured claims on Schedule D.
Mode|: °r ° y Creditors Who Have Claims Secured by Property.
n Debtor 2 only `
Yea'"- Current value of the Current value of the

Other information:

 

.V

l
z
l
l
l
t

._W_,________¢-,t_j

 

Omcial Form 106A/B

n Deblor 1 and Debtor 2 only
cl At least one of the debtors and another

n Check 'rf this is community property (see
insiructions)

‘ 5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number here

entire property? portion you own?

 

Schedule AlB: Property

 

page 3

 

Case 8:13-bl<-O6404-CPl\/| DOC 67 Filed 08/22/18 Page 7 of 14
Debtor1 er \D w Case number (r'rkrrowrr) $~‘lt 3 b t< ' 0 LL}OL)` ' Cpm

F|rst Name Middle Name Last Na e

Describe Your Personal and Household ltems

 

Do you own or have any legal or equitable interest in any of the following items?

6, Household goods and furnishings
Examples: Major appliances fumiture, linens, chinal kitchenware

 

 

n Yes. Describe .......

 

Current value of the
portion you own?

Do not deduct secured claims
or exemptions

 

7. Eiectronics

Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including cell phones, cameras, media piayers, games

DNo

 

n Yes. Describe ..........

 

 

 

8. Collectibles of value

Examples: Antiques and flgurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections memorabilia, collectibles
a No

 

n Yes. Describe ..........

 

 

 

9_ Equipment for sports and hobbies

Examples: Sports, photographic, exercise, and other hobby equipment bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments

UNo

 

 

n Yes. Describe ..........

 

 

_ 10. Firearms
Examples.' Pistols, rifles, shotguns, ammunition, and related equipment

 

 

n No §
n Yes. Describe .......... §

' 11. Clothes
Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

l;\No

 

n Yes_ Describe ..........
12. Jewelry

Examples; Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirioom jewelry, watches, gems.
goid, silver

DNO

 

n Yes. Describe.___._.___§

' 13.Non-farm animals
Examples: Dogs, cats, birds, horses

DNO

 

m Yes. Describe ...........

 

 

 

14. Any other personal and household items you did not already list, including any health aids you did not list

DNo

 

n Yes. Give specmc gm
information ............. §

 

1 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
` for Part 3. Write that number here

Oflicial Form 106A/B Schedule AlB: Property

 

 

 

 

page 4

 

Case 8:13-bk-06404-CPI\/| DOC 67 Filed 08/22/18 Page 8 of 14

Debtor1 v \ . 0 ' Casenumberiifxnpw») <`:‘-\`) z'b){ "' DZDLMQ'“ me

 

 

 

 

 

 

 

 

 

 

 

 

list ante ,Mldule Name w Lasi Name
Describe Your Finarlcial Assets
Do~you own or have any legal orequitabie interest in any of the following? l Cu"¢“* Va|u° °' the
~ 7 portion you own?
Do not deduct secured claims
or exemptions
16. Cash
` Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you tile your petition
n No
l;l Yes ................... Cash: ______________________ $
17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses.
and other similar institutions if you have multiple accounts with the same institution, list each.
cl No
m Yes ..................... institution name:
17_1. Checking account $
17.2. Checking account $
17.3. Savings account $
17.4. Savings account $
17.5. Certificates of deposit $
17.6. Other iinanciai account $
17_7, Other iinanciai account $
17_8. Other financial account 3
17.9. Other inancia| account $

18. Bonds, mutual tunds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

UNc

n ¥es ................. institution or issuer name;

 

 

 

19. Non~publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

 

 

n No Name of entity: % of ownership:
m Yes. Give specific 0°/0 %
information about o
them ......................... 0 /3 %
0% %

 

Officiai Form 106A/B Schedule AlB: Property page 5

 

 

Case 8:13-bk-O6404-CPI\/| DOC 67 Filed 08/22/18 Page 9 of 14

Debtor1 UCl/\V\`\ FCIL KA\(C» MA'¢L\DLL§

Flrst Name Midd|e Name l Last Name

CHS€HUmber(Fk/mwn)?;l§, bF/Aé§lég_flcfm

20. Govemment and corporate bonds and other negotiable and non-negotiable instruments

Negotiabie instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

DNO

El Yes. Give specific issuer names
information about

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

them ....................... $
$
$
` 21. Retirement or pension accounts
Examples: interests in lRA, ER|SA, Keogh, 401 (k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
cl No
n Yes. List each
account separateiy_ Type of account institution name:
401 (k) or similar plan: 3
Pension plan: $
iRA; $
Retirement account $
Keogh: $
Addiiionai account $
Additional account $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with |and|ords, prepaid rent, public utilities (e|ectric, gas, water), telecommunications
companies cr others
n No
n Yes .......................... institution name or individuai:
Eiectric: $
Gas; $
Heating oil: $
Secun`ty deposit on rental unit: $
Prepaid rent; $
Telephone: $
Water: $
Rented fumiture: $
Other: $
_ 23. Annuities (A contract for a periodic payment of money to you, either for life or for a number ot years)
n No
n Yes .......................... issuer name and description:
$
$
$

 

Officiai Form 106A/B

Scheduie AlB: Property

page 6

 

Case 8:13-bk-06404-CPl\/| DOC 67 Filed 08/22/18 Page 10 of 14

Debtor1 M&M Case number(irknown)% ;Z 3 _bk "' 0 IBL+OI%”“C P m
F|rst Name Mlitdte Name Name

24. interests in an education lRA, in an account in a qualified ABLE program, or under a qualified state tuition program
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
m No
El ¥es ....................................

 

institution name and description Separately file the records of any interests.11 U.S.C. § 521 (c):

 

 

 

_ 25.Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
exercisable for your benefit

L_.]No

n Yes. Give specific
information about them____ $

 

 

 

 

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: lntemet domain names, websites, proceeds from royalties and licensing agreements

l;lNo

n Yes. Give specific §
information about them.... $

 

 

 

27. Licenses, franchises, and other general intangibles
Examples: Building permits_ exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

DNO

n Yes. Give specific

infonnation about them_ ___§

 

 

 

Money or property owed to you? , Current value cf the
portion you own?
Do not deduct secured
claims or exemptions

28_ Tax refunds owed to you

DNo

n Yes. Give specific information
about them, including whether
you already filed the returns State:
and the tax years. .......................

 

Federal:

Loca|:

 

 

 

29_ Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement property settlement

DNo

 

 

 

 

 

 

n Yes. Give specific information ..............
Aiimony: $
Maintenance: $
Support: $
Divorce settlement $
Property settlement $

" 30. other amounts someone owes you
Examples: Unpaid wages_ disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation
Social Security benefits; unpaid loans you made to someone else
n No ;
ij Ves. Give specific information ............ §
§ § $

 

Olficia| Form 106A/B Schedule AlB: Property page 7

 

Case 8:13-bk-O6404-CPl\/| DOC 67 Filed 08/22/18 Page 11 of 14
Debtor1 U€. \ E. ”\ Case number nnmcwn) z \’ ) 5 ij k d /;, 510 L71_ pry)

First Name |dd|e Name ast Name `

31. interests in insurance policies
Examples.' Health, disability, or life insurance; health Savings account (HSA); credit, homeowner`s, or renter’s insurance

DNO

n Yes. Name the insurance company

_ _ _ Company name: Beneticiary: Surrender or refund vaiue:
of each policy and list its value_

$

 

 

32. Any interest in property that is due you from someone who has died

if you are the beneficiary of a living trust, expect proceeds from a life insurance poiicy, or are currently entitled to receive
property because someone has died,

uNo

n Yes. Gi`ve specific information ..............

 

 

 

 

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes_ insurance claims, or rights to sue

UNo

n Yes. Describe each ciaim. ______________

 

 

~ 34_ Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
to set off claims

UNo

n Yes. Describe each claim. ....................

 

 

35. Any financial assets you did not already list
Ei NO ~» » ~

El Yes. Give specific information ________

 

 

 

36. Add the dollar value of all of your entries from part 4, including any entries for pages you have attached
for Part 4. Write that number here _ -) $

 

 

 

Describe Any Business-Related Property You Own or l-lave an lnterost ln. List any real estate in Part 1.

 

37. Do you own or have any legal or equitable interest in any business-related property?
C\ No. Go to Part 6.
n Yes. Go to line 38.

Current value of the

 

portion you own?
Do not deduct secured claims
or exemptions
38.Accounts receivable or commissions you already earned
n No 7 xi §
cl Yes. Describe ....... §$

 

 

39. Office equipment, fumishings, and supplies
Examples: Business-related computers, software_ modems, printers, copiers, fax machines, rugs, telephonesl desks, chairs, electronic devices

n No
n Yes. Descri be ....... $

 

 

 

 

Officia| Form 106A/B Schedule AlB: Property page 8

 

Case 8:13-bk-06404-CPI\/| Doc 67 Filed 08/22/18 Page 12 of 14

Debtor1 Vev\ ` o casenumber<n,,o.,,,., 395 )JA/' AA MYL fpm

Firsi Name Miudie Name t Las{ Name

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

n NO -._~ , , ~» .` .,~ M
El Yes. Describe ....... k $

 

y 41,lnventory
` m No
m Yes. Describe ....... $

 

 

 

 

 

42_ lnterests in partnerships or joint ventures

l:l No

m Yes' Describe ~~~~~ Name of entity; % of ownership:
% 8
%
% $

 

W

 

, 43. Customer lists, mailing lists, or other compilations
n No
n Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101 (41A))?
n No
cl Yes. Describe. .......

 

th

§
§
§
§

 

44_Any business-related property you did not already list
n No

El Ves. Give specific
information .........

 

 

 

 

 

$£RU§€HH§'EB

 

 

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $
for Part 5. Write that number here ')

 

 

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an In‘terest ln.
lf you own or have an interest in farmland, list it in Part 1.

 

 

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
|:l No. Go to Part 7.
El Yes. Go 10 iine 47.

 

Current value of the
portion you own? y
Do not deduct secured claims ,
or exemptions `
s 47. Farm animals

Examples: Livestock, pouitry, farm~raised fish

n No

m Yes .........................

$

 

 

 

Official Form 106A/B Schedule AlB: Property page 9

 

 

Case 8:13-bk-O6404-CPI\/| Doc 67 Filed 08/22/18 Page 13 of 14

 

 

`/ \ ., _
Debtor1 n E. \ 0 Case number<irkmwn) % k ) 3 " 13 X " 0 12 ljb)`; C~F m
Flrst Name Mlddle Name ast Name
48. Crops-either growing or harvested
n No §
a Yes. Give specific
infomiation. ............ $

 

' 49.Fan11 and fishing equipment, implements, machinery, fixtures, and tools of trade

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

l;l No
l;l Yes ..........................
$
50. Farm and fishing supplies, chemicals, and feed
[:.l No
\:l Yes .......................... §
$
§ 51.Any farm~ and commercial fishing-related property you did not already list
Cl No
[] Yes. Give specific §
information ............. § $
3…...
; 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached $
' for Part 6. Write that number here ...... 9
Describe All Property You own or I'lave an lnterest in That You Did Not List Above
f 53. Do you have other property of any kind you did not already list?
Examples: Season tickets country club membership
El No
El Yes. Give specific >
information ............. § $
v 54.Add the dollar value of all of your entries from Part 1. Write that number here , . 9 $
List the Totals of Each Part of this Form
55. Part 1: Total real estate, line 2 ........ 9 $
y 56.Part 2: Total vehicles, line 5 $
~` 57.Part 3: Total personal and household items, line 15 $
00
58. Part 4: Total financial assets, line 36 $ / 3 dr §§ w "
§ 59. Part 5: Total business-related property, line 45 $
' 60. Part 6: Total farm- and fishing-related property, line 52 $
~ 61.Part 7: Total other property not listed, line 54 + $
62.Total personal property, Add lines 56 through 61. .................... § $ Copy personal property total 9 + $
§ ........... `

 

 

94

63.Tota| of all property on Schedule AIB. Add line 55 + line 62 ..... '. .................................................................................... $ l § 2 § 90

 

 

 

Oflicial Form 106A/B Schedule AlB: Property page 10

 

 

enve§Ope Shlpplng 1 94 THTUH RD CeD- seaisze/ssroieo4

` seResoTe Fi_ 34240
uNITi:D sTeTi~:s us

j T° US COUHTHOUSE
SAM GlBSON ’

` BI_i_L THIRD PeRTY

w FMEQ(%SMBMT%FM DOC _67 3§!‘:§§|§£0"0§§§“2/;'§1) 2?€,-&§§) 14 O§$ii> DaTE= elgisgei

  

t §§"i° “%§§‘;,'F£S_ii§£€€§’§_‘?§??l””““

 

FedEx`

Express §

l
>
=i
,_
Qi
hi
,.
w
o
co
»~
,_
eli
w
,_`
wi

WED- 22 AUG 10: .SUA`
T_Yi 7824 0383 8440 FH|OH|TY OVERNlGHT

34 KYOA n Uf""’?i»’i

  ||||Il||||||!||ll||||||lf||l|l||| ||I||Hl|||||||||l||||i

   

l
l|l\

 

 

/

